          Case 2:04-cr-00218-MCE Document 107 Filed 04/04/06 Page 1 of 2


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 4
     Attorney for Defendant Joseph McAllister
 5
 6
 7
                                   UNITED STATES DISTRICT COURT
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA             )                 CASE NO. 2:04-cr-0218-MCE
11                                        )
                 Plaintiff,               )
12                                        )
           v.                             )                 STIPULATION AND
13                                        )                 (PROPOSED) ORDER
     JOSEPH WILLIAM McALLISTER,           )                 TO CONTINUE SENTENCING DATE AND
14                                        )                 RELATED DEADLINES
                 Defendant.               )
15    ___________________________________ )                 Date: April 4, 2006
                                          )                 Time: 8:30 a.m.
16                                                          Hon. Morrison C. England, Jr.
17
              With the Court’s permission, defendant JOSEPH WILLIAM McALLISTER and plaintiff
18
     UNITED STATES OF AMERICA, by and through their undersigned counsel, do hereby
19
     stipulate and agree to vacate the defendant’s Sentencing Hearing, presently set for April 4, 2006
20
     at 8:30 a.m., and reset it for April 18, 2006 at 8:30 a.m.
21
              This rescheduling is necessary due to the parties’ intention to file sentencing memoranda
22
     concerning a particular sentencing issue.
23
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     //
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      Case 2:04-cr-00218-MCE Document 107 Filed 04/04/06 Page 2 of 2


 1          It is further stipulated and agreed that time will continue to be excluded for the same
 2   reasons articulated in our prior court appearances.
 3
 4   DATED: March 30, 2006                         /s/ William J. Portanova
                                                   WILLIAM J. PORTANOVA
 5                                                 Attorney for Defendant
                                                   JOSEPH WILLIAM McALLISTER
 6
 7
     DATED: March 30, 2006                         /s/ Philip A, Ferrarri
 8                                                 PHILIP A. FERRARRI
                                                   Assistant United States Attorney
 9
10
11   IT IS SO ORDERED.
12
     DATED: April 3, 2006
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15                                                 ___________________________________
                                                   MORRISON C. ENGLAND, JR
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                                                   UNITED STATES DISTRICT JUDGE
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